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 5                                                  The Honorable Chief Judge Ricardo S. Martinez
                                                The Honorable U.S. Magistrate Judge Brian Tsuchida
 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8
 9      IAN PERRY,                                         NO. 2:20-cv-01622-RSM-BAT

10                                 Plaintiff,              STIPULATED MOTION TO
                                                           FURTHER EXTEND DEADLINE
11                                 vs.                     FOR MEDIATION

12      STATE OF WASHINGTON,                               NOTE ON MOTION CALENDAR:
        WASHINGTON STATE
13      DEPARTMENT OF CORRECTIONS,                                            January 28 , 2022
        ARIEG AWAD, MARQUETTA
14      WASHINGTON, and DOES 1-X
        inclusive,
15
                                   Defendants.
16
            COMES NOW the parties, by and through their counsel of record, and by agreed
17
     stipulation respectfully request that this Court extend the current case scheduling order deadline
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19   for mediation from January 28, 2022 (Dkt. 45) to March 31, 2022. The parties are currently

20   awaiting the Court’s review and consideration of the Magistrate’s Report and Recommendation,
21   the parties’ objections and responses to the Report and Recommendation and a determination on
22
     DOC Defendants’ motion for summary judgment. (Dkts. 45, 48, 49, 50, 51). The parties agree
23
     that a new deadline of Friday, March 31, 2022, should provide ample time for the Court to issue
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     its decision and then, if necessary, for all parties to participate in mediation in this case. The
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       STIPULATED MOTION TO FURTHER                    1                 ATTORNEY GENERAL OF WASHINGTON
                                                                                      Torts Division
       EXTEND DEADLINE FOR MEDIATION                                          800 Fifth Avenue, Suite 2000
       NO. 2:20-cv-01622-RSM-BAT                                                Seattle, WA 98104-3188
                                                                                     (206) 464-7352
            Case 2:20-cv-01622-RSM Document 52 Filed 01/28/22 Page 2 of 3




 1   parties have conferred with each other regarding this motion and the defendants have stipulated

 2   to the four-month extension of the deadline for mediation.
 3
            STIPULATED AND AGREED TO this 28th day of January, 2022.
 4

 5   CIVIL RIGHTS JUSTICE CENTER, PLLC
 6   /s/ Darryl Parker (signature authorized by email)
     Darryl Parker, WSBA #30770
 7
     Attorney for Plaintiff
 8
 9
     ROBERT W. FERGUSON
10   Attorney General

11   /s/Michelle H. Hansen
     MICHELLE H. HANSEN, WSBA No. 14051
12   Assistant Attorney General
     Attorneys for Defendants State of Washington,
13   Its agency Department of Corrections and Areig Awad
14

15
     WILLIAMS KASTNER
16   /s/Heidi L. Mandt (signature authorized by email)
     HEIDI L. MANDT, WSBA #26880
17   Attorney for Defendant Marquetta Washington
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19

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       STIPULATED MOTION TO FURTHER                  2                 ATTORNEY GENERAL OF WASHINGTON
                                                                                    Torts Division
       EXTEND DEADLINE FOR MEDIATION                                        800 Fifth Avenue, Suite 2000
       NO. 2:20-cv-01622-RSM-BAT                                              Seattle, WA 98104-3188
                                                                                   (206) 464-7352
             Case 2:20-cv-01622-RSM Document 52 Filed 01/28/22 Page 3 of 3




 1                                     CERTIFICATE OF SERVICE

 2
             I hereby certify that on this 28th day of January, 2022, I caused to be electronically filed the
 3
     foregoing document with the Clerk of the Court using the CM/ECF system which will send
 4
     notification of such filing to the following:
 5
     Darryl Parker – Attorney for Plaintiff
 6   Civil Rights Justice Center PLLC
     DParker@civilrightsjusticecenter.com
 7

 8   Heidi L. Mandt – Attorney for Defendant Marquetta Washington
     Willams Kastner
 9   HMandt@williamskastner.com

10
             DATED this 28th day of January, 2022.
11
                                                     ROBERT W. FERGUSON
12                                                   Attorney General
13
                                                     /s/Michelle Hitomi Hansen
14                                                   MICHELLE HITOMI HANSEN, WSBA No. 14051
                                                     Assistant Attorney General
15                                                   Washington State Attorney General’s Office
                                                     800 Fifth Avenue, Suite 2000
16                                                   Seattle, WA 98104-3188
                                                     Telephone: (206) 464-7352
17                                                   Fax: (206) 587-4229
                                                     E-mail: Michelle.Hansen@atg.wa.gov
18                                                   Attorneys for Defendants State of Washington,
                                                     Its agency Department of Corrections and Areig
19                                                   Awad
20

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       STIPULATED MOTION TO FURTHER                      3                   ATTORNEY GENERAL OF WASHINGTON
                                                                                          Torts Division
       EXTEND DEADLINE FOR MEDIATION                                              800 Fifth Avenue, Suite 2000
       NO. 2:20-cv-01622-RSM-BAT                                                    Seattle, WA 98104-3188
                                                                                         (206) 464-7352
